                   Case 1:05-cr-00127-OWW Document 42 Filed 05/26/06 Page 1 of 3



      1   ANTHONY P. CAPOZZI, CSBN 068525
          LAW OFFICES OF ANTHONY P. CAPOZZI
      2   1233 W. Shaw Avenue, Suite 102
          Fresno, CA 93711
      3   Telephone: (559) 221-0200
          Fax: (559) 221-7997
      4   E-mail: capozzilaw@aol.com
      5   Attorney for Defendant,
          SERAFIN RODRIGUEZ MENDOZA
      6

      7

      8                         IN THE UNITED STATES DISTRICT COURT
      9                        EASTERN DISTRICT OF CALIFORNIA, FRESNO
     10                                          * * * * *
     11
                                                     ) Case No.: CR-F-05-0127 OWW
     12   UNITED STATES OF AMERICA,                  )
                                                     ) STIPULATION FOR CONTINUANCE AND
     13                Plaintiff,                    ) PROPOSED ORDER THEREIN
                                                     )
     14         vs.                                  )
                                                     )
     15   SERAFIN RODRIGUEZ MENDOZA,                 )
                                                     )
     16                Defendant.                    )
     17

     18         IT    IS     HEREBY    STIPULATED       between      the   Defendants,        SERAFIN
     19   RODRIGUEZ MENDOZA, by and through his attorney of record, Anthony P.
     20   Capozzi,     and    ROSA    LOPEZ   MENDOA,    by    and   through    her    attorney    of
     21   record, Eric V. Kersten, and Plaintiff, by and through Assistant
     22   United States Attorneys, Sheila Oberto and Virna Santos, that the
     23   Status Conference now set for Tuesday, May 23, 2006, 2006, at 9:00
     24   a.m. be continued to Monday, June 5, 2006, 2006 at 9:00 a.m. for a
     25   Change of Plea Hearing.
     26         It    is     further    stipulated      by     the   parties    that    any     delay
     27   resulting from this continuance shall be excluded on the following
     28   basis:

                                                    Page 1
                                                                               Stipulation to Continue
                                                                                  Case No. 05-0127 OWW

PDF created with pdfFactory trial version www.pdffactory.com
                   Case 1:05-cr-00127-OWW Document 42 Filed 05/26/06 Page 2 of 3



      1         1.     Title    18,   United   States       Code,   Section     3161(h)(8)(A)      --
      2                that    the    ends of justice served by taking such action
      3                outweighs      the   best    interest        of   the    public     and    the
      4                defendant in a speedy trial;
      5         2.     Title 18, United States Code, Section 3161(h)(8)(ii) --
      6                that it is unreasonable to expect adequate preparation for
      7                pre-trial proceedings or for the trial itself with the
      8                time limits established due to the complexity of the case.
      9                                                Respectfully submitted,
     10   Dated:     May 19, 2006
     11
                                                            /s/ Anthony P. Capozzi
     12
                                                       Anthony P. Capozzi,
     13                                                Attorney for Defendant,
                                                       Serafin Rodriguez Mendoza
     14

     15   Dated:     May 19, 2006
     16
                                                            /s/ Eric V. Kersten
     17
                                                       Anthony P. Capozzi,
     18                                                Attorney for Defendant,
                                                       Rosa Lopez Mendoza
     19

     20
          Dated:     May 19, 2006
     21
                                                            /s/ Sheila K. Oberto
     22                                                Sheila K. Oberto,
                                                       Assistant U.S. Attorney
     23

     24

     25

     26

     27

     28

                                                   Page 2
                                                                               Stipulation to Continue
                                                                                  Case No. 05-0127 OWW

PDF created with pdfFactory trial version www.pdffactory.com
                   Case 1:05-cr-00127-OWW Document 42 Filed 05/26/06 Page 3 of 3


                                                   ORDER
      1

      2         IT IS SO ORDERED.           Good cause having been shown, the status

      3   conference now set for May 23, 2006, is vacated and a Change of Plea
      4
          Hearing     is    now    scheduled      for    June   5,   2006   at   9:00    a.m.
      5
          Additionally, time shall be excluded by stipulation from the parties
      6
          and pursuant to 18 USC §§ 3161(h)(A) and 3161(h)(B)(ii).
      7

      8   Dated:     May _25, 2006

      9                                                 /s/ OLIVER W. WANGER
                                                        Honorable Oliver W. Wanger,
     10
                                                        U.S. District Court Judge
     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

     26

     27

     28

                                                   Page 3
                                                                        Stipulation to Continue
                                                                           Case No. 05-0127 OWW

PDF created with pdfFactory trial version www.pdffactory.com
